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                            UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF KENTUCKY
                           CENTRAL DIVISION AT LEXINGTON

Oak 44 Property Management, LLC                   Case no.

               Plaintiff                          Judge

v.                                                RULE 7.1 DISCLOSURE STATEMENT

Justin Maddix, et al.

               Defendants.

        As required by Civil Rule 7.1, I certify that Plaintiff Oak 44 has no parent

corporation and that no publicly held corporation owns more than 10% of its stock.

                                           Respectfully submitted,

                                            /s/ Joshua M. Smith
                                           Joshua M. Smith (098835)
                                           Jeffrey M. Nye (pro hac vice forthcoming)
                                           Adam P. Stickney (pro hac vice forthcoming)
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